     Case 3:08-cr-01794-JM         Document 35       Filed 07/03/08     PageID.137       Page 1 of 2



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                                        UNITED STATES DISTRICT COURT
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                                   SOUTHERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                      )    Civil No.08cr1794 JM (AJB)
                                                    )
12                         Plaintiff,               )
     v.                                             )    ORDER RELEASING MATERIAL
13                                                  )    WITNESS
     SERGIO GUZMAN-SOSA (1), KATRINA                )
14   CUELLAR (2),                                   )
                                                    )
15                         Defendants.              )
                                                    )
16
17
                              ORDER RELEASING MATERIAL WITNESSES
18
            On application of Robert E. Schroth, Jr., attorney for the named material witnesses, Pedro
19
20   Jimenez-Vasquez, Marco Aguilar-Paez; and as their videotaped depositions have been completed

21   pursuant to this Court’s Order [Docket #27] dated June 24, 2008, and after overruling the objection of
22
     defendant Solis on the record in Court on July3,2008.
23
24          GOOD CAUSE APPEARING, IT IS HEREBY ORDERED that, the heretofore material

25   witnesses, Pedro Jimenez-Vasquez, Marco Aguilar-Paez having been committed to the custody of the

26   ///
27   ///
28   ///


                                                        1                                                 08cr1794
     Case 3:08-cr-01794-JM                      Document 35                Filed 07/03/08           PageID.138   Page 2 of 2



 1
     United States Marshal as material witnesses, be released as a material witness. The material witness
 2
     will be remanded to United States Border Patrol and returned to their country of origin immediately.
 3
               IT IS SO ORDERED.
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     DATED: July 3, 2008
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 9                                                                                Hon. Anthony J. Battaglia

10                                                                                U.S. Magistrate Judge

11                                                                                United States District Court
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